

Judgment of


the Court.

“It seems to the Court here, that there is error in the said judgment in 6this, that it ought to have been expressly alledged in the said Indictment, that the stealing of the bank notes therein mentioned, was done feloniously : and in this, that the said bank notes are not alledged, in and by the said Indictment, to be the bank notes of, or to belong to, any person, or persons, or to a person or persons to the jurors unknown. Wherefore it is considered by the Court, that the said judg*127ment be reversed and annulled, and this Court proceeding to give such judgment as the said Superior Court ought to have rendered, it is further considered by the Court, that the said judgment be arrested, and that the said Joseph Barker go quit of the offence charged against him in the said Indictment.” Proclamation being then made, the Attorney General prayed that he might be committed to the Jail of Henrico county, to be from thence conveyed by the Sheriff of Henrico to the Jail of the said county of Henry, to answer a good and sufficient Indictment to be exhibited against him in the Superior Court of Law of the said county of Henry, for the felonious stealing, taking, and carrying away, the bank notes in the aforesaid first Indictment mentioned. Which is ordered accordingly.
